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AO 9I(Rev.08/09) CriminalComplaint
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               DA
            ALIJ NIE/HADI
                ABER VELAZQUEJand
                         JABER                                  CaseNo.13-8506-DLB



                                              CRIM INAL COM PLAINT

         1,thecomplainantin thiscase,statethatthefollowing istrueto thebestofmy knowledgeand belief.
Onoraboutthedatets)of                2009throuqhpresent       inthecounty of                Palm Beach                                          inthe
  southern     Districtof               Florida       ,thedefendantts)violated:
        CodeSection                                                   OffenseDescrl
                                                                                  ption
18U.S.C.j371                              Conspiracy




         Thiscriminalcom plaintisbased onthesefacts:
                                         SEE ATTACHED AFFIDAVIT




         V Continuedontheattachedsheet.                         /
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                                                            v
                                                                                    Complainant'
                                                                                               ssignature

                                                                            HaniaratuSmall,SpecialAqent,lRS                                             .-

                                                                                     Printed nameandtitle

Sworn to before meand signed inm y presence.

Date:      t1.-h'- l7                                                          N       Ae                                                               .

                                                                                       Judge'
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City and state'
              .              W estPalm Beach,Flori
                                                 da                       Dave Lee Brannon,U.S.Maqi
                                                                                                  strate Jud-qp- .-
                                                                                     Printed nameand title
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                  A FFID AV IT IN SU PPO RT O F C RIM IN AL CO M PLA INT
                                 A ND A RR EST W A RR A NT S

         1,HanjaratuSmall,being firstdulysworn,herebydeposeandstateasfollows:
                                        IN TR O D U CTIO N

  1. 1 am a Special A gent w ith the U nited States D epartm ent of Treasury, Internal Revenue

      Service(lRS),Criminallnvestigation,and havebeen so employedforapproximatelythirteen
      years. M y responsibilities include the investigation of possible violations of the lnternal

      R evenue law s,the Bank Secrecy A ct, the m oney laundering statutes, and other financial

      crimes including bankruptcy fraud,m ail fraud, wire fraud, and related crim es. I have

      personally investigated and assisted in investigations in relation to violations of these

      statutes. ln addition,1 have attended sem inars relative to these law s and their violations.

      Prior to m y em ploym entas a SpecialA gent,1 w as an 1RS Revenue A gent fortwelve years

      and aTax Auditorforone.

      I subm it this aftidavit based upon information known to m e personally from the

      investigation,as w ellas inform ation obtained from otherlaw enforcem entofficers w ho have

      investigated thism atter,including agentsfrom the United States Departm entofAgriculture

      (CûUSDA''),theUnited StatesDepartmentofHealth and Human Services(çiHHS'') and the
      Palm Beach County Sheriff's O ffice (t
                                           :PBSO''),and otherindividualswho have personal
      know ledge of the facts herein w hich Applicant believes to be reliable, and which is

      sum marized herein.

   3. The purpose of this affidavit is to establish thatthere is probable cause to believe thatA L1

      JABER,HADIJABER and DANIEL VELAZQUEZ did knowingly conspireto defraud an
      agencyoftheUnited States,towit,theUSDA;in violationof18U.S.C.j371.
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                                          BAC K G RO UN D

  4. A L1 JA BER and HA D I JA BER are brothers w ho operate a grocery store know n as Jaber

     Enterprises,lnc.d/b/aFajita'sM eat& Fish(ûûFajita's'),locatedat3921 10th AveNorth,Palm
     Springs,Florida 33461,in Palm Beach County,in the Southern Districtof Florida. A lthough

     the legaladdress ofthe property is Palm Springs,Florida,the property is som etim es listed by

     A LlJA BER and HA D IJABER asbeing located in Lake W orth,Florida.

  5. JaberEnterprises,Inc.w as incorporated in the State ofFlorida on or aboutJuly 10,2006.A LI

     JABER w as the sole Officer,Director,President and Registered A gent of Jaber Entem rises,

     lnc.,from in or about 2006 through in or about2009. HA D I JABER w as the sole O fticer,

     D irector, President and Registered A gent of Jaber Enterprises, lnc., from in or about 2009

     through in or about2010. M .J.,the brother ofA LIand HA D IJABER ,becam e the President

     ofJaberEnterprises,lnc.in or about2010 and is currently the President.

     DANIELVELAZQUEZ isanemployeeofFajita's.
                   FAJITA 'S A ND TH E SN A P FO O D STA M P PR O G R AM

     Fajita'sisanauthorizedretailerfortheSupplementalNutritionAssistanceProgram ((kSNAP''),
     folm erly knownastheFood Stamp Program .

  8. SN AP is a program established and funded by the U nited StatesD epartm entofA gricultttre's

     ('ûUSDA'')FoodandNutrition Service(GtFNS'')forthepurposeofaffording low and middle
     incom e households the opportunity to achieve a m ore nutritious diet by increasing their

     ability to purchase food. SN A P benetits can only be used tow ard the purchase of eligible

     foods. Eligiblefoodsinclude any food orfood productintended to be prepared and eaten at

     home,such as breads and cereals'
                                    ,fruits and vegetables'
                                                          ,m eat,fish and poultry;and dairy

     products. SNAP benefitscannotbeused to purchase alcoholic beverages,tobacco products,
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      nonfood item s such as cosm etics and other household goods, and food that is hot or to be

      eaten in the store. U SD A rules and regulations specifically prohibitthe exchange of SN A P

      benefits forcash.

  9. U SD A is an agency of the U nited States, and FN S is an agency within the U SD A . In

      Florida,SN AP is adm inistered through the Florida Departm entof Children and Fam ilies on

      behalfofthe federalgovernm ent.

   10.SNAP recipients collecttheirbenefitsthrough Electronic BenefitTransfer(ûûEBT'') cards
      which operate like debit cards and which contain specific identifying data. Each SNAP

     recipientisalso issued a unique Personalldentification Number(ûdP1N''). On a monthly
     basis,each EBT card is credited w ith a dollar am ountto be used forthe purchase of eligible

     food item s.

  11.AuthorizedretailersusePointofSale((tPOS'')devicesatwhich SNAP recipientsswipetheir
     EBT cards and enter their unique PlN . Each authorized retailer also has a unique SN A P

     authorization num berassociated w ith the PO S. SN A P transaction infonuation from the PO S

     devices are sent via electronic transm ission to processors designated by U SDA , who then

     send SNAP proceedsto bank accountsdesignated bythe authorized retailer.

  12.AuthorizedretailersfortheSNAP program,such asFajita's,arerequiredtobeapprovedby
     the FN S. A s part of the application approval process, a representative of the retailer is

     required to sign a dûFood Stam p GrocerEducation Confirm ation''docum ent. By signing the

     docum ent,the representative confirm s that he w illensure that ût. . .current and future owners,

     operators,corporate officers and clerks ...''are properly trained as to what items can and

     calmotbe purchased using SNAP benefits with the EBT eard,induding the prohibition on

     the exchange of SN AP benetitsforcash.
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   13.O n or aboutO ctober 18,2006,A L1 JA BER ,as Presidentof Jaber Entem rises,lnc.,applied

      forauthorizationtoparticipatein theSNAP food benetitsprogram onbehalfofFajita's.
      pal4 ofthe application process,ALlJABER,on behalfofFajita's,signed a lslTood Stamp
      G rocerEducation Confirm ation''in w hich he confirm ed thathe w ould ensure thatC:...current

      and future ow ners,operators,corporate officers and clerks ...''w ere properly trained as to

      w hatitem scould and could notbe purchased using SN AP benefitsw ith an EBT card.

                                 SN AP FR AU D CO N SPIR A CY

   l4.In the spring of2012,an infonnantadvised law enforcementthatFajita'swasproviding
      çkcash back''on EBT SN A P transactions. Between M arch 2012 and June 2013,undercover

      SN AP recipients conducted approxim ately 20 m onitored and recorded undercover lkbuys''at

      Fajita's. In approximately fifteen ofthese dibuys,''each oftheundercoverSNAP recipients
      (hereinafterûçUC'')requested and received cash back on an EBT SNAP transaction.
      cash-back transactions w ere conducted w ith A LI JABER, H A DI JA BER and D AN IEL

      VALASQUEZ.
  15.lnthemajority ofthesetransactions,theUC requested acertainamountofmoney. TheEBT
      card w as sw iped for the am ount requested by the U C,plus an approxim ately 30% to 50%

      prem ium . The U C w as given only the am ountof cash thatw as requested Fajita'swithheld
                                                                               .




      orkeptthepremium. ThecashgiventotheUC,inamajorityoftheinstances,wasnotrung
     through the cash register. Instead,in m ostcasesthe clerk took cash outofa w alletorpocket

     and gave itto the U C. A review ofthe EBT records from U SDA 'S FN S program contirm ed

     the transaction location foreach ofthe UC buysasFajita's,the specific beneficiary card
     swiped,and the gross am ount of the transaction. The EBT m onies were then routed to

     Fajita'scorporatebankaccotmtsviaelectronicdepositsfrom USDA sources.
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   16.On or about Tuesday, May 8,2012, a UC entered Fajita's with an undercover fully
     operationalEBT card. The U C w entto the cooler loeated in the m iddle ofthe store near the

     frontcounterand selected a Red Bullenergy drink.The UC identified ALlJABER asbeing

     the only m ale clerk w orking behind the counter.The U C placed the Red Bullenergy drink on

     the counterand pulled outhis/herundercoverEBT card and Florida Identification card. AL1

     JABER asked the U C how m uch he/she w anted. The U C asked to have ALIJABER ring up

     the energy drink tirstin order to check his/herbalance.A LIJA BER again asked the U C how

     much he/she wanted. The UC tirst replied that he/she wanted $150, but then alm ost
     imm ediately asked for$200. AL1JABER then swiped the UC'sEBT card through the POS
     and the UC entered his/her Pm num ber.Once the transaction was approved,AL1JABER

     w entinto his frontleftpocketand pulled out a large am ountofcash. ALlJA BER took tw o

     (2)$100billsfrom themoneythatwasinhispocket,openedupthecashregister,placedone
     ofthe $100billsin theregisterand took outtive $20 bills. ALlJABER then handed the UC

     (1)$100billand (5)$20billsandareceiptforthetransaction.ThereceiptshowedthatAL1
     JABER actually charged theUC'sundercoverEBT card $302.34 forthe transaction.

  17.On oraboutJanuary 15,2013 a UC entered Fajita'swith an undercoverfully operational
     EBT card. The UC approached the counter and w hile talking in a 1ow tone,the U C asked

     H A DI JABER ifhe/she could getcash on her EBT card.W hile scalm ing food item s,H AD I

     JABER advised him /herto com e back later,w hen H A DIJA BER w ould have m ore cash. The

     UC asked whattim e should he /she come back and HADIJABER told theUC to come back

     afterltmch.Atapproximately 1:00p.m.onthesameday,theUC retumedtoFajita'swithan
     undercover EBT card.W hile the UC entered the store he/she noticed an unknown Hispanic

     male completing a transaction with DANNY VELAZQUEZ who wasbehind the counter
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      working the register.A s the U C stepped up to the counter,he/she could see shopping bags

     containing allofthe item she/she picked up from his/herinitialvisitthatday.W hile pointing

      atthe bags,the UC told DANNY VELAZQUEZ thatthey belonged to him/her.DANNY
     VELAZQUEZ wentintothebagand gotthereceipt.TheUC asked DANNY VELAZQUEZ
      ifhe/shecould obtain cash usinghis/herEBT card. DANNY VELAZQUEZ initiallyreplied
      thatthey did notprovide cash. The U C responded by indicating thathe/she had gotten cash

      from the store in thepastusing his/herEBT card. DANNY VELAZQUEZ denied the UC
      claim ,but then w hispered in essence that there w as a police officer standing behind the U C

      and thatthe U C could notgetcash back because ofthe ofticer'spresence.

   18.On oraboutFebruary 12,2013,a UC entered Fajita'swith an undercoverfully operational
      EBT card. A s the U C entered the store, he/she observed HA DI JABER at the counter

      operating the cash register.The U C selected tw o item s to purchase and took them to the cash

      register where HA D I JA BER w as w orking.HA D IJA BER rang up the tw o item s for a total

      of $3.48.During the transaction,the UC said to HADIJABER thathe/she needed some
      m oney. HADIJABER asked how much,and the UC responded thathe/she wanted $200.
      H AD I JA BER sw iped the EBT card through the PO S and the U C entered his/her Pm

      num ber.Once the transaction wasapproved,HADIJABER wentinto theregisterand pulled

      outtwo (2)$100 dollarbillsand handed them both to UC.Thereceiptforthe transaction
      showedthatHADIJABER actually chargedtheUC'sEBT card $303.48forthetransaction.

   19.Duringtheinvestigation,thefollowingadditionalUC transactionsoccurredatFajita's:
             a. On or aboutJune 5,2012,atFajita's in Palm Beach County,defendantAL1
                 JABER caused the subm ission of a fraudulent SNAP redemption requestin the
                 am ountof$480.00 from which he gave $320.00 in cash to an undercoverSNAP
                 recipientin violation ofU SD A rulesand regulations.
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              On oraboutSeptember21,2012,atFajita'sin Palm Beach County,defendant
              A L1 JA BER caused the subm ission of a fraudulent SN A P redem ption request in
              the am ount of $149.00 from which he gave $100.00 in cash to an undercover
              SN AP recipientin violation ofU SDA nllesand regulations.

              On oraboutSeptember21,2012,atFajita'sin Palm Beach County,defendant
              A LI JA BER caused the subm ission of a fraudulent SN AP redem ption request in
              the amotmt of $149.00 from which he gave $100.00 in cash to an undercover
              SNAP recipientin violation ofUSDA rulesand regulations.

              On oraboutOctober5,2012,atFajita'sin Palm Beach County,defendantALI
              JA BER caused the subm ission of a fraudulent SN A P redem ption request in the
              am ountof $74.99 from which he gave $40.00 in cash to an tmdercover SNAP
              recipientin violation ofU SD A rulesand regulations.

              On oraboutNovember2,2012,atFajita'sinPalm Beach County,defendantALl
              JABER caused the subm ission ofa fraudulent SNAP redemption request in the
              am ountof$225.00 from which he gave $150.00 in cash to an undercoverSNAP
              recipientin violation ofU SD A rulesand regulations.

              On oraboutNovember20,2012,atFajita'sin Palm Beach County,defendant
              DANIEL VELAZQUEZ causedthesubmissionofafraudulentSNAP redemption
              request in the am ount of $181.66 from which he gave $100 in cash to an
              undercover SN A P recipientin violation ofU SDA rules and regulations.

           g. On oraboutNovember28,2012,atFajita'sin Palm Beach County,defendant
              A L1JA BER caused the subm ission of a fraudulent SN A P redem ption request in
              the amountof$59.99 from which he gave $40.00 in cash to an undercoverSNAP
              recipientin violation ofU SDA rules and regulations.

           h. OnoraboutDecember28,2012,atFajita'sinPalm BeachCounty,defendantALl
              JABER caused the subm ission ofa fraudulentSNAP redem ption requestin the
              am ount of $75.00 from which he gave $50.00 in cash to an tmdercover SNAP
              recipientin violation ofU SD A rulesand regulations.

              On or about Janual'y 9,2013,at Fajita's in Palm Beach County,defendant
              DANIEL VELAZQUEZ causedthesubmission ofafraudulentSNAP redemption
             request in the am ount of $85.49 from which he gave $50.00 in cash to an
             undercover SN A P recipientin violation ofU SDA rules and regulations.

              On oraboutJanuary 16,2013,atFajita'sin Palm BeachCounty,defendantHADI
              JABER caused the subm ission ofa fraudulentSNAP redemption requestin the
             amountof$299.87 from which he gave $200.00 in cash to an undercoverSNAP
             recipientin violation ofU SDA rulesandregulations.
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                OnoraboutJanuary 25,2013,atFajita'sin Palm Beach County,defendantHADI
                JA BER caused the subm ission of a fraudulent SN A P redem ption request in the
                am ountof$151.48 from which he gave $100.00 in cash to an undercover SNAP
                recipientin violation ofU SDA rulesand regulations.

                On oraboutM arch 21,2013,atFajita'sin Palm Beach County,defendantAL1
                JA BER caused the subm ission of a fraudulent SN A P redem ption request in the
                am ountof$299.99 from which he gave $200.00 in cash to an undercover SNAP
                recipientin violation ofU SDA nllesand regulations.

            m.OnoraboutJtme25,2013,atFajita'sin Palm Beach County,defendantDANIEL
              VELAZQUEZ caused the submission ofafraudulentSNAP redemption request
                in the am ountof$330.00 from which he gave $220.00 in cash to an undercover
                SN A P recipientin violation ofU SD A rules and regulations.

  20.In addition to the U C transactions,video and photographic surveillance w asconducted in the

     areaofFajita'smarketfrom on oraboutApril13,2012 to April30,2012,
                                                                    .M ay 1,2012 to
     June 10,2012;July 1,2012 to July 11,2012 and M arch 17,2013 to June 25,2013. Through

     physicaland video surveillance,customerswere documented entering and exiting Fajita's.
     EBT recordsforthose tim e fram esw ere then analyzed,noting the datesand tim es ofal1EBT

     transactions over $200. Approxim ately 100 different EBT recipients, m any of whom

     conducted EBT transactionsatFajita'son multipleoccasions,were tracked and identified.
     V ideo and photographic im ages ofcustom ers w ere review ed forthe tim e fram e im m ediately

     before and aftereach ofthe $200 orm ore transactions. Furtherreview ofthe photographic
     and video evidence docum ented thatthe custom ers from the above-noted transactions cam e

     outofFajitaswith littleorno groceries. Videoandphotographicreview alsoconfirmedthat
     none ofthe custom ersretunw d to retrieve item s from the store w ithin a shortperiod oftim e.

     O f these tracked transactions, the average tim e a custom er w as in the store w as

     approximately 3-8m inutes. The longestperiod oftimenoted by 1aw enforcementengaged in




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      thisinvestigationbetween acustomergoinginandcomingoutofFajita'swasapproximately
      20 m inutes.

   21.A s an exam ple, surveillance established that on a particular day, custom er SDH entered

      Fajita'sat9:32a.m. SDH'Sidentitywasdeterminedbycomparingthenameandtheaddress
      on her Florida D river's License w ith the nam e and address to w hich her EBT card and,

      separately,herEBT Pm num berw ere sent. A llthree had the sam e nam e and address. There

      is no record of SD H reporting either herD river's License or her EBT card stolen. A n EBT

      time stamp of 9:35 a.m .wasrecorded for a transaction am ountof $603.50 on SDH 'S card.
      SDH w as observed departing the store w ith only a bottled drink at9:35a.m . ln addition,the

      video evidence ofthe person m aking the transaction correlated to the generaldescription of

      SD H on her Florida D river's License. This evidence is clearly inconsistentw ith a custom er

      using an EBT card to purchase $600 worth ofeligible food item s,butisconsistentwith the
      cash back schem e established through thisinvestigation.

   22.Jaber Enterprises, Inc.bank records from approxim ately 2009 through A pril2013 confirm

      approximately $6million dollarsin totaldepositsfrom EBT salesatFajita's. A review of
      FN S records evidencing the EBT transactions forthe sam e period generally corroboratesthe

      depositinform ation. Some ofthe $6 m illion in EBT transactionsmay belegitimate.Despite
      this, consenrative estim ates of the am ount of fraud have been calculated. In one

      m ethodology,JaberEnterprises bank recordsw ere review ed. A llpaym entsto w hatappearto

      be store vendorswho would qualify underthe EBT program (such as meatand produce
      vendors)wereidentified. A mark-up of35% wasusedto computethe salesprice. A fraud
      loss of approximately $2.8 million was calculated by establishing the difference between

      grossEBT transactionsand theestimated purchasesfrom qualified vendors. Alternatively,a
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      com parison ofthe average totalm onthly transactions in m edium -sized grocery stores in the

      state ofFlorida from November2010 to April2013 wascompared to Fajita's monthly
      redemptions forthattime period. lnvestigatorscompared Fajita's sales to medium-sized
      grocery storesinFloridabecauseFajita'sisself-describedasamedium-sizedgrocery storein
      certain SN A P docum entation. D espite this self-description, surveillance and other

      investigative activities suggests that the store appears to be m ore consistent w ith a sm all

      sized grocery store. U sing this alternative m ethodology of com parable m edium -sized

      grocery sales,the am ountof fraud was conservatively estimated to be approximately $3.8
      m illion.

   23.In what appears to be an effort to Ctcash out''the m onies w ired into the com pany bank

      accountsourced from the EBT transactions,betw een in oraround 2009 and untilin or around

      A pril 2013, HA D I JA BER , along w ith his brother,A L1 JA BER, engaged in a pattern of

      withdrawing cash in am ounts oflessthan $10,000 in an apparentattemptto circumventthe

      filing ofCurrency TransactionReports(ç$CTR's''). ln all,thetwo Jaberbrothersmadeover
      seventy cash withdrawals,themajority ofwhich werein amountsunder$10,000,totaling in
      excessof$1.7 million. In some cases,the withdrawalswere separated by a day ortwo;in
      others,the w ithdraw als w ere m ade on the sam e day. H A D I JA BER m ade w ithdraw als by

      w riting checks either to him selforcash,al1ofw hich he endorsed. A L1 JA BER did the sam e

      thing by m iting checksto him self. D epicted in the table below are selected transactions that

      illustrate the pattern ofw ithdraw albased upon the investigation thus far:

  lnstitution            Date             Check No.            Am ount              Endorsed by

  TD Bank xx3456         12/19/2009        1703                $5,370               HADIJABER


                                                      10
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   TD Bank xx3456       12/20/2009       1704             $5,000            HADIJABER

   TD Barlk xx3456      1/2/2010         1746             $5,000            HADIJABER

   TD Bankxx3456        1/2/2010         1747             $7,000            HADIJABER

   TD Bankxx3456        1/2/2010         1748             $4,500            HADIJABER

   PNC Bank xx8753      8/25/2011        2651             $9,200            HADIJABER

   PNC Barlk xx8753     8/29/2011        2654             $9,500            HADIJABER

   PNC Bank xx8753      12/12/2012       3917             $9,000            HADIJABER

   PNC Bank xx8753      12/14/2012       3926             $9,000            HADIJABER

   PNC Bank xx8753      6/10/2010        1392             $4,000            AL1JABER

   PNC Bank xx8753      6/11/2010        1395             $7,000            ALIJABER

   PNC Barlk xx8753     5/10/2011        2366             $9,000            ALlJABER

   PNC Bank xx8753      5/10/2011        2375             $8,000            ALIJABER

   PNC Balzk xx8753     8/13/2012        3591             $2,000            ALlJABER

   PNC Bank xx8753      8/13/2012        3592             $8,000            AL1JABER

   W ellsFargo xx8769 7/8/2013           1062             $4,788            ALIJABER

   W ellsFargo xx8769 7/8/2013           1063             $7,000            ALIJABER

   24.In addition to m onies w ithdrawn by H AD I JABER and A LI JA BER,Jaber Enterprises,Inc.

      barlk recordsalso show over $100,000 in checks written to M .J.,currentPresidentofJaber
      Enterprises,lnc.,and brother of HA D IJA BER and A L1 JA BER . Law enforcem entsources

      show M .J.currently residing in M assachusetts.

   25.Jaber Enterprises,lnc.also m ote over $30,000 in checks to City M obile Corp between
      approxim ately 2009 through April 2013. According to State of Florida records, HADI

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      JA BER w as listed as the initiallncorporator and Presidentof City M obile Corp w hen itw as

      fonned in 2009. City M obile Corp iscurrently listed as an inactive com oration,dissolved as

      of Septem ber 24,2010. The principaladdress listed for City M obile Corp,as w ell as the

      address for HA D I JA BER as the Registered A gent and President of City M obile Corp,is

      3921 10th AveNorth,Lake W orth,Florida,which isa common listed addressofFajita's.
      The A rticles of lncorporation for City M obile Corp state that its purpose is the sale of cell

      phones,calling cards,accessoriesand m ore.

   26.Jaber Enterprises,lnc.bank records also show over $500,000 in wires sent overseas to
      variouspersonsand businesses. Specifically,betw een in oraboutD ecem ber2011 through in

      oraboutApril2013,approximately $179,000 waswired from the cop orate accountofJaber
      Enterprises,lnc.to an accountin Beinlt,Lebanon in the nam e of A L1 JA BER. In addition,

      between 2009 and in oraboutJuly 2013,over$200,000 in wireswassentto H .A .in Beinlt,
      Lebanon. A lthough 1aw enforcem enthas notidentitied H .A .,A LlJA BER 'S w ife is nam ed

      Z.A .J.,this nam e being fully know n to law enforcem ent,suggesting a fam ilialconnection of

      som e kind. ln addition,betw een 2009 and 2012,w iresw ere sentfrom the Jaber Enterprises,

      lnc. to accounts in Canada, as follows: approxim ately $61,000 wired to A. M . E. 1.*
                                                                                          ,
      approximately $33,000 to              approximately $33,000 to M . Constnlction; and

      approximately $20,000toN .A .




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   27.Based upon the evidence described above, there is probable cause to believe that A Ll

      JABER,HADIJABER and DANIEL VELAZQUEZ did knowingly conspireto defraud an
      agencyoftheUnited States,towit,theUSDA;inviolationof18U.S.C.j371.

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                                                InternalRevenue Service,Crim inalInvestigation


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Case 9:14-cr-80001-DMM Document 3 Entered on FLSD Docket 12/10/2013 Page 15 of 18




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                               SO UTH ERN D ISTR ICT O F FLO RIDA

                            CA SE N UM BER : 13-8506-DL8

                                   BO ND RECO M M EN DATION



DEFEN DAN T:HadiJaber

             Pre-TrialDetention
             (PersonalSurety)(CorporateSurety)(Cash)(PrçrTriglDçtqlgi
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                                              By:          .               #
                                                    AUSA: Carolyn Bell




LastKnown A ddress:




W hatFacility:




Agentts):          SpecialAgentHanjaratuSmall
                   (FB1) (SECRET SERVICE) (DEA) (lRS) (lCE) (OTHER)
                      IRS
Case 9:14-cr-80001-DMM Document 3 Entered on FLSD Docket 12/10/2013 Page 16 of 18




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                                SO UTH ER N DISTRICT O F FLO R ID A

                             C ASE N UM BER : 13-8506-DLB

                                    BO N D REC OM M ENDA TIO N



DEFEND AN T:AIiJaber

             Pre-TrialDetention
             (PersonalSurety)(CorporateSurety)(Cash)(Pm-T(ig!
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                                                     AUSA: Carolyn Bell




LastKnow n A ddress:                           ?57




W hatFacility:




Agentts):          SpecialAgentHanjaratuSmall                      '
                   (FBl) (SECRET SERVICE) (DEA) (1RS) (lCE) (OTHER)
                       IRS
 Case 9:14-cr-80001-DMM Document 3 Entered on FLSD Docket 12/10/2013 Page 17 of 18




                              U N IT ED STA T ES D ISTR IC T CO U R T
                                 SO U TH ERN DISTRICT O F FLO RIDA

                             CA SE NU M BER : 13-8506-DL8

                                      BO N D RECO M M EN DATIO N



D EFEN DAN T:DanielVelazquez

                 Pre-TrialDetention
             (PersonalSurety)(CorporateSurety)(Cash)(PrçrTri@,l..
                                                                J)ç$ç!z$iqn)




                                                                       V
                                                       A USA : C a olyn Bell




LastKnow n Address:




W hatFacility'
             .




Agentts):             SpecialAgentHanjaratu Small
                      (FBl) (SECRET SERVICE) (DEA) (lRS) (lCE) (O THER)
                       IRS
Case 9:14-cr-80001-DMM Document 3 Entered on FLSD Docket 12/10/2013 Page 18 of 18




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                                   N o.      13-8506-DLB

   U NITED STA TES O F A M ER ICA

   VS.

   A LlJA BER ,H A D IJA BER ,and
   DANIEL VELAZQUEZ
            D efendants.
                                            /

                                   C R IM IN AL CO V ER SH EET


            Did this m atter originate from a m atterpending in the Northern Region ofthe United
            StatesA ttorney's Office priorto O ctober 14,2003?

                           Y es        X         No

         2. Didthism atteroriginate from am atterpending in theCentralRegion ofthe United States
            A ttorney'sO ffice priorto Septem ber 1,20072

                           Y es        X         No


                                                 Respectfully subm itted,

                                                 W IFRED O A .FERRER
                                                 U NITED STA TES A TTO RN EY


                                          BY :                   G        .
                                                 CA ROLYN BELL
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